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                                   (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)


                  HTTMT GROUP LLC, SECRET EQUIPMENT
                                                        Arlen                                            Ness Enterprises, Inc.
                  INC., XKH GROUP INC., AND HK MOTO INC.
                                                                                                                                                 Santa Clara
(EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)

   Santa Clara
          (Firm Name, Address, and Telephone Number)                                                          (If Known)
Shengmao Mu, SBN 327076, 2570 N. First Street, San Jose.
917-858-8018, smu@whitewoodlaw.com
                                         (Place an “X” in One Box Only)                                                                       (Place an “X” in One Box for Plaintiff
                                                                                        (For Diversity Cases Only)                            and One Box for Defendant)

                                                                                                                                                 or
                                     (U.S. Government Not a Party)
                                                                                                                                                 and
                                    (Indicate Citizenship of Parties in Item III)



                              (Place an “X” in One Box Only)




             (Place an “X” in One Box Only)

                                                                                                                                  (specify)


                                                                                    (Do not cite jurisdictional statutes unless diversity)
                   U.S.C. § 1125

                   Declaratory Action for trademark infringement




             (See instructions):




   03/15/2022                                                                                                              /s/Shengmao Mu

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